      Case 4:10-cr-00662 Document 61 Filed on 10/27/10 in TXSD Page 1 of 4



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           §       CRIMINAL NO.: 4:10-CR-00662-4
                                              §
JERMAINE VENROD MCNEAL                        §


               MOTION FOR INSPECTION OF GRAND JURY TESTIMONY



TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES the Defendant, JERMAINE VENROD MCNEAL, in the above styled and

numbered cause, and moves the Court to require the Government's attorney to permit the Defendant

the inspection of Grand Jury testimony, for purposes of cross-examination, and in support thereof

would respectfully show as follows:



       Defendant would show that he is entitled to and does hereby request that the Court direct the

United States Attorney, to furnish Defendant the Grand Jury testimony of all witnesses appearing

before said Grand Jury testimony, which, if not presently reduced to writing, should be reduced to

writing, in accordance with the provisions in Dennis v. United States, 384. U.S. 855, 16 L.ed.3d 973.
      Case 4:10-cr-00662 Document 61 Filed on 10/27/10 in TXSD Page 2 of 4



       WHEREFORE, Defendant prays that this Honorable Court grant Defendant's motion and

order the U.S. Attorney to provide and furnish, to the Defendant, the said Grand Jury testimony as

requested.



                                             Respectfully submitted,


                                             /s/ Robert A. Jones______________
                                             ROBERT A. JONES
                                             2211 Norfolk, Suite 600
                                             Houston, Texas 77098
                                             713-526-1171
                                             713-528-3415 Fax
                                             State Bar Number: 10941500
                                             Federal ID Number: 12692
                                             Attorney for JERMAINE VENROD MCNEAL




                              CERTIFICATE OF SERVICE

       I hereby certify that on the 27TH day of October, 2010, a copy of the foregoing Motion For

Inspection of Grand Jury Testimony, of the defendant was electronically mailed to Kebharu H. Smith

Assistant United States Attorney, Southern District of Texas.



                                             /s/ Robert A. Jones_____________
                                             ROBERT A. JONES
      Case 4:10-cr-00662 Document 61 Filed on 10/27/10 in TXSD Page 3 of 4



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §        CRIMINAL NO.: 4:10-CR-00662-4
                                               §
JERMAINE VENROD MCNEAL                         §


                              CERTIFICATE OF CONFERENCE

       I certify that I have contacted Kebharu H. Smith, AUSA in the above-referenced cause, and he

will respond by via electronic filing to this Motion.




                                                             /s/ Robert A. Jones
                                                             Robert A. Jones
      Case 4:10-cr-00662 Document 61 Filed on 10/27/10 in TXSD Page 4 of 4



                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
VS.                                        §       CRIMINAL NO.: 4:10-CR-00662-4
                                           §
JERMAINE VENROD MCNEAL                     §


                                         ORDER


       The Court having considered the Motion For Inspection of Grand Jury Testimony, of the

Defendant, on the above styled and numbered cause, is of the opinion that same should be and is

herein _____________________________.

       SO ORDERED this the _____ day of _____________, 2010, at Houston, Texas.



                                           _________________________________
                                           UNITED STATES DISTRICT JUDGE
